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                                         M IN UTE O RDER                                               Page 4

                              M agistrate Judge A ndrea M .Sim onton
                        KingBuildingcourtroom 10-6                            Date:1/12/16      Time:1:30pm
 Defendant: Stephen M .Costa                 J#: surrender   Case #: 15-21004-CR-ALTO NAGA

AUSA: FrankTamen                                        Attorney: LillyAnnSanchez(Perm)
Violation: Rule20InforPlea-HeaIthCareFraud                   Su
                                                               rrenderDate:1/12/16 YOB:
Proceeding: InitialAppearance/Arraignment                         CJA Appt:
Bond/p'rDHeld:cyes /No                  Recom m ended Bond:
Bond setat:                                                       co-signed by:
 I-
  V-Isurrenderand/ordonotobtainpassports/traveldocs                    Language:      English
  p' ReporttoPTSas directed/or       x?saweek/monthby                  Disposition:
     phone:      x'saweek/monthinperson                                 Defendantadvised ofri htsand            ;
     Random urine testing by Pretrial
  r- Services                                                           charges                                 (
     Treatm entas deem ed necessary                                                                             (
                                                                                                                '


  f- Refrain from excessive use ofalcohol                               Bond previously setin N.Y.,will         !
  f- Participateinmentalhealthassessment& treatment                     continue inthisDistrict;$500K PSB j
 nr Maintainorseekfull-timeemployment/education                         CosignedbyhisFather(nohrg.held); ;
  f- No contactwith                                                                                             i
                      victims/witnesses,exceptthroughcounsel            CourtSets                               t
 f- Nofirearms                                                                                          i
 fp- N                                                                                                  1
      ottoencumberpropertyz- xas?e.> %                                  Defendantarraigned.Readingofthe .
                                                                                                                I
 1- M ay notvisittransportation establishments                          indictm entw aived. standing            i
 f- Homeconfinement/ElectronicMonitoringand/or                          Discoveryorderentered.Jurytrial i
     Curfew              pm to           am , paid by                   dem anded.
 r- Allowances:M edicalneeds,court appearances, attorneyvisits,         +forbusinesspurposes;Court              t
     religious,em ploym ent                                                                                     '
 1
 7- T                                                                   appearances& Attyvisitsw/prior          l
     ravelextendedto:S/D & M/D ofFL;California& N.Y.*                                   +                       '
 1
 - O                                                                    approvalfrom PTS
         ther:                                                                                                  l
NEXT COURT APPEARANCE    Date:           Tim e:          Judge:                        Place:
ReportRE Counsel:
PTD/BondHearing'  .
Prelim/Arraign orRemoval:
StatusConference RE:
D.A.R.                                                        Tim e in Co rt:
                                 s/                                       -          M agistrateJudge
